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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND
                        (Greenbelt Division)


KILMAR ARMANDO ABREGO                     Civil No.: 8:25-cv-00951-PX
GARCIA et al.,

           Plaintiffs,
                                          DEFENDANTS’ MEMORANDUM
     v.                                   OF LAW IN OPPOSITION TO
                                          PLAINTIFFS’ EMERGENCY
KRISTI NOEM, Secretary of Homeland        MOTION FOR TEMPORARY
Security, et al.,                         RESTRAINING ORDER

           Defendants.
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                                 INTRODUCTION

      Plaintiffs are a Salvadoran national removed to El Salvador and his two U.S.

citizen family members who live in the United States. Compl., ECF No. 1, ¶¶ 4–6.

They have sued Defendants, federal officials in their official capacities, seeking

declaratory and injunctive relief. Id. ¶¶ 7–13; id. Request for Relief. The core

allegation is that the lead Plaintiff, Abrego Garcia, was removed to El Salvador

despite a grant of withholding of removal to that country.

      Plaintiffs have moved for a temporary restraining order (“TRO”) asking for a

prohibitory injunction—an order that Defendants “immediately stop paying

compensation to the Government of El Salvador for the detention of Plaintiff Abrego

Garcia”—and a mandatory injunction—an order that the federal government

“request that the Government of El Salvador return Plaintiff Abrego Garcia to

[Defendants’] custody.” TRO Mot., ECF No. 6, at 2–3.

      This Court should deny the motion because Plaintiffs have not made the

requisite showings for a TRO. First, Plaintiffs have not shown they are likely to

succeed on the merits of the case. Indeed, they have not shown how this Court has

jurisdiction even to issue a TRO in this case. Second, Plaintiffs have not shown a

likelihood they will suffer an irreparable injury absent their requested TRO.

Finally, Plaintiffs have not shown that the balance of the equities and the public

interest weigh in their favor.




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                               STATEMENT OF FACTS1

         Plaintiff Abrego Garcia is a citizen and native of El Salvador, and his

coplaintiffs are his U.S. citizen wife and five-year-old child, who reside in Maryland.

Compl. ¶¶ 4–6, 42. Both Abrego Garcia and his wife work full-time to support their

family. Id. ¶ 44.

         In March 2019, Abrego Garcia was served a notice to appear in removal

proceedings, charging him as inadmissible as an “alien present in the United States

without being admitted or paroled, or who arrives in the United States at any time

or place other than as designated by the Attorney General.” Id. ¶¶ 25–29 (quoting

8 U.S.C. § 1182(a)(6)(A)(i)). During a bond hearing, Immigration and Customs

Enforcement (“ICE”) stated that a confidential informant had advised that Abrego

Garcia was an active member of the criminal gang MS-13. Id. ¶ 31. Bond was

denied. See id. ¶¶ 34, 39; see also IJ Order, infra Ex. A, at 2–3 (finding that Abrego

Garcia was a danger to the community); BIA Opinion, infra Ex. B, at 1–2 (adopting

and affirming IJ Order, specifically finding no clear error in its dangerousness

finding).

         Abrego Garcia then filed an I-589 application for asylum, withholding of

removal, and protection under the United Nations Convention Against Torture.

Compl. ¶ 35. Although Abrego Garcia was found removable, the immigration judge

granted him withholding of removal to El Salvador in an order dated October 10,

2019. Id. ¶ 41.


1   As alleged in the complaint, except as to the exhibits attached to this memorandum.


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      Plaintiffs allege that, on March 12, 2025, Abrego Garcia was stopped by ICE

officers, who informed him that his immigration status had changed. Id. ¶¶ 48–50;

see also Cerna Decl., infra Ex. C, ¶ 11. After being detained, he was questioned

about gang affiliations and transferred ultimately to a detention center in Texas.

Compl. ¶¶ 53, 56; Cerna Decl. ¶¶ 2, 11. Plaintiffs allege Abrego Garcia was told he

would be removed to El Salvador and detained at the CECOT prison there. Compl.

¶¶ 56–57 & n.1.

      On March 15, although ICE was aware of his protection from removal to El

Salvador, Abrego Garcia was removed to El Salvador because of an administrative

error. Cerna Decl. ¶¶ 12–15. On March 16, a news article contained a photograph of

individuals entering intake at CECOT. Id. ¶ 59. Abrego Garcia’s wife identified one

of the detainees depicted as her husband based on his tattoos and head scars. Id.

      Plaintiffs allege, based on a news article, that the federal government “has

paid or continues to pay the Government of El Salvador six million dollars in order

for the Government of El Salvador to detain” individuals removed there from the

United States, “including Plaintiff Abrego Garcia.” Id. ¶ 65 & n.2.

                               LEGAL STANDARD

      Emergency injunctive relief is an extraordinary remedy requiring “a clear

showing that the plaintiff is entitled to relief.” Dewhurst v. Century Aluminum Co.,

649 F.3d 287, 290 (4th Cir. 2011) (quoting Winter v. Nat. Res. Def. Council, 555 U.S.

7, 22, (2008)); Seth v. McDonough, 461 F. Supp. 3d 242, 257 (D. Md. 2020) (“[T]he

standards for a temporary restraining order and a preliminary injunction are the




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same.” (citing Int’l Longshoremen’s Ass’n, Local 333 v. Int’l Longshoremen’s Ass’n,

AFL-CIO, Civil No. 15-813, 2015 WL 1402342, at *1 (D. Md. Mar. 25, 2015))).

Plaintiffs’ motion asks this Court, “on an incomplete record, [to] order a party to act,

or refrain from acting, in a certain way.” Seth, 461 F. Supp. 3d at 257. Thus, “[t]he

danger of a mistake in this setting is substantial.” Id. (alteration in original)

(quoting Hughes Network Sys., Inc. v. InterDigital Commc'ns Corp., 17 F.3d 691,

693 (4th Cir. 1994)). This Court must therefore exercise its discretion with caution.

See id. This concern is even greater when, as here, the “requested immediate

injunctive relief deeply intrudes into the core concerns of the executive branch.”

Adams v. Vance, 570 F.2d 950, 954 (D.C. Cir. 1978); see also Sampson v. Murray,

415 U.S. 61, 83–84 (1974) (A court is “quite wrong in routinely applying . . . the

traditional standards governing more orthodox ‘stays’” in an area to which “the

Government has traditionally been granted the widest latitude.”).

      Additionally, the mandatory preliminary injunctive relief Plaintiffs request

“is disfavored, and warranted only in the most extraordinary circumstances.” Taylor

v. Freeman, 34 F.3d 266, 270 n.2 (4th Cir. 1994). The standard for obtaining a

mandatory injunction is thus “even more searching” than the already “exacting

standard of review” for a prohibitory injunction. Pashby v. Delia, 709 F.3d 307, 319

(4th Cir. 2013).

      The factors this Court considers, as prescribed by Winter, are (1) whether the

party seeking the injunction is “likely to succeed on the merits,” (2) whether that

party is “likely to suffer irreparable harm” absent the injunction, (3) whether “the




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balance of hardships tips in [that party’s] favor,” and (4) whether the “injunction is

in the public interest.” Id. at 320. This Court must ensure that each factor is

“satisfied as articulated” before an injunction may issue. Stinnie v. Holcomb,

77 F.4th 200, 208 (4th Cir. 2023) (en banc) (quoting Real Truth About Obama, Inc.

v. FEC, 575 F.3d 342, 347 (4th Cir. 2009), vacated on other grounds, 559 U.S. 1089

(2010))). The latter two factors “merge when the Government is the opposing party.”

Miranda v. Garland, 34 F.4th 338, 365 (4th Cir. 2022) (quoting Nken v. Holder,

556 U.S. 418, 435 (2009)).

                                      ARGUMENT

   I.        Plaintiffs have not made a clear showing that they will likely
             prevail on the merits.

        A.     This Court lacks jurisdiction because Abrego Garcia is not in
               United States custody.

        Plaintiffs’ claims fall within the historical “core” of the writ of habeas corpus.

Because Plaintiffs’ claims sound in habeas, they can proceed only in habeas. But

because Plaintiffs concede that Abrego Garcia is not in United States custody, this

Court cannot hear those claims.

        Habeas corpus “is the appropriate remedy to ascertain . . . whether any

person is rightfully in confinement or not.” DHS v. Thuraissigiam, 591 U.S. 103,

117 (2020) (quoting 3 Joseph Story, Commentaries on the Constitution of the United

States § 1333, p.206 (1833)). Thus, habeas requires as an essential element of

jurisdiction that the detainee be in the custody of the United States. See, e.g.,

Carafas v. LaVallee, 391 U.S. 234, 238 & n.9 (1968); Smith v. Ashcroft, 295 F.3d




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425, 428 (4th Cir. 2002). And a person “is held ‘in custody’ by the United States

when the United States official charged with his detention has ‘the power to

produce him.’” Munaf v. Geren, 553 U.S. 674, 686 (2008) (quoting Wales v. Whitney,

114 U.S. 564, 574 (1885)).

      The Supreme Court and Fourth Circuit’s case law confirms that core habeas

claims like the ones Plaintiffs bring—claims that challenge the authority of the

Executive to exercise a power that led to the detention—must be brought in habeas.

See, e.g., Nance v. Ward, 597 U.S. 159, 167 (2022) (“[A]n inmate must proceed in

habeas when the relief he seeks would ‘necessarily imply the invalidity of his

conviction or sentence.” (quoting Heck v. Humphrey, 512 U.S. 477, 480 (1994)));

Preiser v. Rodriguez, 411 U.S. 475, 489 (1973) (answering in the affirmative the

question “whether the specific federal habeas corpus statute, explicitly and

historically designed to provide the means for a state prisoner to attack the validity

of his confinement, must be understood to be the exclusive remedy available”

despite the broad language of 42 U.S.C. § 1983); Plyler v. Moore, 129 F.3d 728, 733

(4th Cir. 1997) (explaining that if “an action [i]s one challenging the legality of

physical confinement . . . the only proper avenue for relief was a petition for a writ

of habeas corpus”).

      Here, Plaintiffs seek review of the legality of the Executive’s restraint of and

removal of Abrego Garcia to El Salvador, leading to his present detention there.

Compl. ¶ 63 (alleging Defendants “decided to deport Plaintiff Abrego Garcia without

following the law”). Plaintiffs make it clear that the ultimate relief they seek is his




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return to the United States to live at liberty with his family. Id. ¶¶ 76–77, 82–83,

88–89, 94–95 (alleging irreparable harm from separation from his family and

asking “the Court to immediately order Defendants to take all steps reasonably

available to them, proportionate to the gravity of the ongoing harm, to return

Plaintiff Abrego Garcia to the United States.”) Because Plaintiffs seek Abrego

Garcia’s release from allegedly unlawful detention on the grounds that it was

effected illegally, they make a core habeas claim, and they must therefore bring it

exclusively in habeas.

       But there is no jurisdiction in habeas. Plaintiffs admit—as they must—that

the United States does not have custody over Abrego Garcia. They acknowledge

that there may be “difficult questions of redressability” in this case, reflecting their

recognition that Defendants do not have “the power to produce” Abrego Garcia from

CECOT in El Salvador. Mem. Supp. TRO Mot. 2. But even more, they concede that

Abrego Garcia is not in Defendants’ custody. Id. (asking the Court to order

Defendants to “request that the government of El Salvador return Plaintiff to

Defendants’ custody”). Despite their allegations of continued payment for Abrego

Garcia’s detention, Plaintiffs do not argue that the United States can exercise its

will over a foreign sovereign. The most they ask for is a court order that the United

States entreat—or even cajole—a close ally in its fight against transnational cartels.

This is not “custody” to which the great writ may run. This Court therefore lacks

jurisdiction.




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      And even if the writ were to run to Abrego Garcia’s custody in El Salvador,

the fact remains that the writ acts not on the detainee but the custodian. 28 U.S.C.

§§ 2242–43. Thus, a custodian with the power to produce Abrego Garcia must be

physically within the jurisdiction of this Court for this Court to exercise jurisdiction

in habeas. Rumsfeld v. Padilla, 542 U.S. 426, 435 (2004). But the only Defendant

alleged to be within the physical jurisdiction of this Court is Defendant Nikita

Baker. Compl. ¶¶ 3, 10. And no allegation is made that Defendant Baker, the

Baltimore Field Office Director for ICE, has the power to produce Abrego Garcia to

this Court. See id. ¶¶ 3, 10, 63 (containing the only allegations in the complaint

about Defendant Baker individually).

      B.     Plaintiffs cannot show redressability.

      Plaintiffs cannot, as they must, show that it is “‘likely,’ as opposed to merely

‘speculative,’ that [their alleged] injury will be ‘redressed by a favorable decision” in

this Court. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (quoting Simon v. E.

Ky. Welfare Rights Org., 426 U.S. 26, 41–42 (1976)); see also id. (“The party

invoking federal jurisdiction bears the burden of establishing [redressability].”). A

failure to do so means that the “irreducible constitutional minimum” of standing to

sue in federal court is not met. Id. at 560. This Court thus lacks Article III

jurisdiction, for there is no justiciable case or controversy.

      When “[t]he existence of one or more of the essential elements of standing

'depends on the unfettered choices made by independent actors not before the courts

and whose exercise of broad and legitimate discretion the courts cannot presume




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either to control or to predict,’ . . . it becomes the burden of the plaintiff to adduce

facts showing that those choices have been or will be made in such manner as to . . .

permit redressability of injury.” Id. at 562 (quoting ASARCO Inc. v. Kadish,

490 U.S. 605, 615 (1989) (opinion of Kennedy, J.)). Here, “Plaintiffs’ injury can only

be redressed by [a] foreign nation[] not before the court.” Lin v. United States,

690 F. App’x 7, 8–9 (D.C. Cir. 2017) (collecting cases) (dismissing claim for

declaratory relief for lack of redressability because plaintiffs did not show “that a

court ruling invalidating [certain] decrees would likely cause [other nations] to

provide relief”). Plaintiffs concede that Abrego Garcia is in the custody of El

Salvador, a foreign sovereign over which this Court “has no jurisdiction.” TRO Mot.

2. Plaintiffs instead seek orders from this Court directing the United States to

obtain Abrego Garcia’s release from Salvadoran custody by financial pressure and

diplomacy. Id. at 2–3. But they have made no showing that such measures are

likely, not merely speculative, to obtain the ultimate relief they seek—Abrego

Garcia’s release. There is no showing that any payment made to El Salvador is yet

to occur; no showing that El Salvador is likely to release CECOT detainees but for

any such payment; no showing that El Salvador is even inclined to consider a

request to release a detainee at the United States’ request.

       Although their motion and supporting memorandum contemplate the futility

of this Court’s order, Plaintiffs relegate the redressability requirement to a later

time. Id. at 2 (“If those efforts are unsuccessful, the parties can brief any further

remedial steps that may lie within this Court’s jurisdiction.”); Mem. Supp. TRO




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Mot., ECF No. 10, at 2 (“This case may end up raising difficult questions of

redressability in a subsequent phase, but a preliminary injunction should issue

promptly.”). To the contrary—if Plaintiffs cannot clearly show a likelihood of

satisfying redressability now, they cannot obtain the extraordinary remedy of a

TRO. See Lujan, 504 U.S. at 561 (“Since they are not mere pleading requirements

but rather an indispensable part of the plaintiff's case, each element must be

supported in the same way as any other matter on which the plaintiff bears the

burden of proof, i.e., with the manner and degree of evidence required at the

successive stages of the litigation.”). Even if Plaintiffs could surpass the lighter

burden of showing redressability for purposes of pleading, they have not met their

higher burden for purposes of preliminary equitable relief.

      Because this Court has no power over a foreign sovereign and because

Plaintiffs have not clearly shown that enjoining Defendants as Plaintiffs ask will

likely redress their injuries, Plaintiffs lack standing for the relief they seek.

      C.     8 U.S.C. § 1252(g) deprives this Court of jurisdiction.

      This Court lacks jurisdiction to review Defendants’ removal of Abrego Garcia.

Section 1252(g) deprives district courts of jurisdiction to review “any cause or claim

by or on behalf of any alien arising from the decision or action by the Attorney

General to commence proceedings, adjudicate cases, or execute removal orders

against any alien” under the INA, notwithstanding any other provision of law,

except as otherwise provided in § 1252. 8 U.S.C. § 1252(g) (emphasis added).

Interpreting this provision, the Supreme Court has held the statute’s plain




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language bars any claim related to conduct falling within one of these three

events—commencing proceedings, adjudicating cases, or executing removal orders.

See Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 482 (1999). While

section 1252(g) “does not sweep broadly,” the provision’s “narrow sweep is firm” and

this Court cannot “entertain challenges to the enumerated executive branch

decisions or actions.” E.F.L. v. Prim, 986 F.3d 959, 964 (7th Cir. 2021). It “precludes

judicial review of ‘any’ challenge to ‘the decision or action by [DHS] to . . . execute

removal orders’” which “includes challenges to DHS’s ‘legal authority’ to do so.” Id.

at 965 (alteration in original); see also Camarena v. Director, ICE, 988 F.3d 1268,

1273–74 (11th Cir. 2021) (“No matter how [the plaintiffs] characterize their claims,

they amount to an attack on the government’s execution of their removal orders.

That runs afoul of § 1252(g): If we held otherwise, any petitioner could frame his or

her claim as an attack on the government's authority to execute a removal order

rather than its execution of a removal order.”). And, although authority exists

permitting “substantive review of the underlying legal bases for” an execution of an

order of removal,

      Here, Plaintiffs’ claims are challenges to the execution of his removal order,

review of those claims is barred in the district courts under § 1252(g). Contrary to

their assertion otherwise, see Mem. Supp. TRO Mot. 10, they specifically challenge

the decision to execute Abrego Garcia’s removal order. Compl. ¶ 63 (alleging

Defendants “decided to deport Plaintiff Abrego Garcia without following the law”).

Their bare assertion that “there was no removal order to execute,” Mem. Supp. TRO




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Mot. 10, is refuted by their own admission. Mem. Supp. TRO Mot. 1 (“The

government could have chosen to remove Mr. Abrego Garcia to any other country on

earth, but did not.”). See also Compl., Ex. A, at 2 (“Based on [Abrego Garcia]’s

admissions and concessions, the Court found his removability to be established by

clear and convincing evidence as required by INA § 240(c)(3).”); id. at 14 (granting

withholding of removal under INA § 241(b)(3)).

      And Plaintiffs’ claims for relief fall within the § 1252(g) prohibition because

they each raise a challenge “by or on behalf of” Abrego Garcia to the decision to

execute his removal order. See Compl. ¶¶ 74, 79, 85, 92; see also Mapoy v. Carroll,

185 F.3d 224, 228 (4th Cir. 1999) (where basis for claim is denial of stay of removal

and continued detention in anticipation of removal, claim arises from decision to

execute order of removal); see also Duron v. Johnson, 898 F.3d 644, 647–48 (5th Cir.

2018) (court must look at substance of complaint to determine whether claim is “by

or on behalf of” alien; complaint of unlawful discrimination against U.S. citizen’s

alien father, styled as violating U.S. citizens’ Fifth Amendment rights, is

necessarily claim on behalf of father “to be free of such discrimination”).

      Here, Plaintiffs’ contention that their challenge to the Executive’s destination

of removal does not fall within § 1252(g) because the destination is illegal under the

INA, Mem. Supp. TRO Mot. 10, is circular and proves too much. Under their logic,

this Court may assume jurisdiction to decide whether the order is legal, but if the

order were determined legal, then jurisdiction would disappear again. Besides the

fact that this Court must determine its own jurisdiction before reaching the merits




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of a claim, Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 101 (1998), if

Plaintiffs were correct, then any challenge to the legality of a removal order would

avoid § 1252(g) altogether. But Congress added that provision precisely to avoid the

“deconstruction, fragmentation, and hence prolongation of removal proceedings,”

which such an interpretation of § 1252(g) would incentivize. Reno, 525 U.S. at 487.

          Thus, because Plaintiffs’ claims arise from Defendants’ decision to execute

Abrego Garcia’s removal order, those claims cannot be raised in this Court, and

preliminary relief cannot issue.2

    II.      Plaintiffs have not clearly shown that irreparable harm is likely
             without the preliminary relief they seek.

          Plaintiffs cannot meet the second Winter requirement, either. They point only

to two irreparable harms they say they will suffer: the separation of Plaintiffs’

family, and the alleged risk that Abrego Garcia will be tortured or killed in CECOT.

Mem. Supp. TRO Mot. 8.3 But family separation is not an injury of the kind


2 Abrego Garcia should have requested a stay of removal in connection to a motion to reopen directed

to the immigration judge, 8 C.F.R. § 1003.23(b)(v), and then filed a petition for review in the Fourth
Circuit if the immigration judge (and Board of Immigration Appeals on appeal) ultimately denied
reopening. That was Congress’s intent—to streamline all matters into review of a final order of
removal. See 8 U.S.C. § 1252(a)(5) (petition for review exclusive means of judicial review), (b)(9)
(judicial review of all questions of law and fact arising from “any action taken . . . to remove an alien
from the United States under this subchapter” available only in petition for review); Shaboyan v.
Holder, 652 F.3d 988, 990–91 (9th Cir. 2010) (“[T]he BIA’s order denying Shaboyan’s request for a
stay would still be reviewable as part of a petition for review stemming from a final order of
removal.”).
And Plaintiffs could have taken these steps while Abrego Garcia was still in the United States—
Plaintiffs allege he was able to talk to his wife by phone multiple times and that, the morning of
March 15, he told his wife that there were plans to remove him to El Salvador. Compl. ¶¶ 52–57.
Plaintiffs’ failure to invoke the appropriate remedy when they had the chance does not mean there
was no adequate remedy to review the impending removal action.
3 Notably, Plaintiffs do not contend that Abrego Garcia is threatened by the reason he gave to get

withholding of removal—alleged harm from the Barrios 18 gang’s extortion of his family’s pupusa
shop. See generally Ex. 1 to Compl.



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necessary to prevail on this factor in light of the Supreme Court’s admonishment

not to “routinely apply[] . . . the traditional standards governing more orthodox

‘stays’” in an area to which “the Government has traditionally been granted the

widest latitude.” Sampson, 415 U.S. at 83–84.

      And Plaintiffs have not clearly shown a likelihood that Abrego Garcia will be

tortured or killed in CECOT. Plaintiffs point to little evidence about conditions in

CECOT itself (focusing primarily on its capacity for detainees), instead

extrapolating from allegations about conditions in different Salvadoran prisons.

Goebertus Decl., Ex. B to Mem. Supp. TRO Mot., ¶¶ 2–4; Bishop Decl., Ex. C to

Mem. Supp. TRO Mot., ¶¶ 24 & n.17, 30 & n.27. While there may be allegations of

abuses in other Salvadoran prisons—very few in relation to the large number of

detainees—there is no clear showing that Abrego Garcia himself is likely to be

tortured or killed in CECOT.

      More fundamentally, this Court should defer to the government’s

determination that Abrego Garcia will not likely be tortured or killed in El

Salvador. “[S]eparation of powers principles . . . preclude the courts from second-

guessing the Executive’s assessment of the likelihood a detainee will be tortured by

a foreign sovereign.” Kiyemba v. Obama, 561 F.3d 509, 515 (D.C. Cir. 2009). The

United States, as a signatory to the Convention Against Torture, is committed not

to return a person to a country where that person is likely to be tortured. See

generally 8 C.F.R. § 1208.18. And, as one of Plaintiffs’ declarants concedes, “El

Salvador is a signatory to both the Convention Against Torture and the




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International Covenant on Civil and Political Rights.” Bishop Decl. ¶ 32. Although

the government erred in removing Abrego Garcia specifically to El Salvador, the

government would not have removed any alien to El Salvador for detention in

CECOT if it believed that doing so would violate the United States’ obligations

under the Convention. That judgment is therefore due respect under separation-of-

powers principles. See Kiyemba, 561 F.3d at 515.

      Thus, Plaintiffs cannot show the clear likelihood of irreparable harm

necessary to satisfy the second Winter factor, especially in light of heightened

burden necessitated by the intrusion of Plaintiffs’ requested relief on the core of

Executive foreign-affairs functions.

   III.   Plaintiffs have not shown that the balance of the equities and
          public interest clearly weigh in their favor.

      Nor can Plaintiffs prevail on the remaining Winter factors. Abrego Garcia is a

danger to the community—he is estopped from asserting otherwise—and there is a

weighty public interest in ensuring the Executive can implement a unified course of

conduct in foreign affairs. These interests tip the balance decisively against the

Plaintiffs’ asserted interests.

      Abrego Garcia is barred from disputing that, as a member of the criminal

gang MS-13, he is a danger to the community. This factual finding was made in his

bond proceedings before the agency, IJ Order 2–3, and he appealed that finding to

the Board of Immigration Appeals, which affirmed it as not clearly erroneous, BIA

Opinion 1–2. Because he did not seek further review of the Board’s decision, that

decision is a final judgment precluding relitigation of the issues it resolved. Hagan



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v. McNallen (In re McNallen), 62 F.3d 619, 624 (4th Cir. 1995) (noting that

collateral estoppel may apply to administrative proceedings as well as judicial).

      Collateral estoppel applies when “(1) the issue sought to be precluded [was]

the same as that involved in the prior action, (2) that issue [was] actually litigated,

(3) it [was] determined by a valid and final judgment, and (4) the determination

[was] essential to the prior judgment.” Combs v. Richardson, 838 F.2d 112, 115

(4th Cir. 1988) (quoting In re Ross, 602 F.2d 604, 607–08 (3d Cir. 1979)); see also In

re McNallen, 62 F.3d at 624 (requiring that “the party against whom the prior

decision was asserted enjoyed a full and fair opportunity to litigate that issue in an

earlier proceedings”).

      Here, Abrego Garcia cannot now relitigate the finding that he is a danger to

the community. That issue was actually litigated and decided in his bond hearing in

2019. IJ Order 2–3 (“Respondent failed to meet his burden of demonstrating that

his release from custody would not pose a danger to others, as the evidence shows

that he is a verified member of MS-13” and he “has failed to present evidence to

rebut that assertion.”). He appealed that decision to the appropriate administrative

review body, the Board of Immigration Appeals, which adopted and affirmed the

immigration judge’s “danger ruling” notwithstanding Abrego Garcia’s arguments.

BIA Opinion 1–2. There is no evidence of further review by the Fourth Circuit, and

the time for such review has passed, so the agency decision is a valid and final

judgment. Moreover, because the Board affirmed the immigration judge solely on

the ground that Abrego Garcia was a danger to the community, that ground is




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essential to the judgment. Restatement (Second) of Judgments § 27 cmt. o (Am. L.

Inst. 1982). Finally, Abrego Garcia had a full and fair opportunity to litigate the

issue. He had the opportunity to give evidence tending to show he was not part of

MS-13, which he did not proffer. IJ Order 2–3. And he had sufficient motivation to

challenge the finding—he needed to prevail on it to obtain bond pending his

removal proceedings. See Compl. ¶ 39 (discussing missing the birth of his son

because he was detained); accord Restatement (Second) of Judgments § 28 cmt. j

(discussing unfairness in applying preclusive effect to first judgment when “the

amount in controversy in the first action [was] so small in relation to the amount in

controversy in the second”). Thus, the finding of Abrego Garcia’s danger to the

community is conclusive, and he is estopped from challenging it now.

      In light of Abrego Garcia’s danger to the community, the balance of equities

and the public interest tip against an injunction ordering Defendants to orchestrate

his return to the United States. Although there is a “public interest in preventing

aliens from being wrongfully removed,” Nken, 556 U.S. at 435, there too is a strong

public interest in not importing members of violent transnational gangs into the

country. See id. at 436 (noting a heightened “interest in prompt removal” if an

“alien is particularly dangerous”). And though the danger to the general public may

be mitigated if Abrego Garcia were detained upon return to the United States, even

while in detention, gang members may stoke violence against government officials

and other detainees. See Michael E. Miller, Wash. Post, “Vying for Control”: How




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MS-13 Uses Violence and Extortion in America’s Jails (Feb. 4, 2018).4 And detainees

may also escape.

      Further, as discussed above, an injunction as Plaintiffs request would harm

the public interest by preventing the Executive from implementing a unified course

of conduct for the United States’ foreign affairs. “[M]atters relating ‘to the conduct

of foreign relations . . . are so exclusively entrusted to the political branches of

government as to be largely immune from judicial inquiry or interference.’”

Hernandez v. Mesa, 589 U.S. 93, 103–04 (2020) (ellipsis in original) (quoting Haig v.

Agee, 453 U.S. 280, 292 (1981)). “Between the two political branches, only the

Executive has the characteristic of unity at all times,” giving him the capability,

which the other departments of government lack, “of engaging in the delicate and

often secret diplomatic contacts” necessary in foreign affairs. Zivotofsky ex rel.

Zivotofsky v. Kerry, 576 U.S. 1, 14–15 (2015). Thus, ordering the Executive to

renege on any promise of payment that might exist would threaten the nation’s

credibility in any future negotiations or allow foreign negotiators to seek to leverage

the disunity in foreign policy caused by this Court’s order. See id.; cf. Crosby v. Nat’l

Foreign Trade Council, 530 U.S. 363, 381 (“[T]he President’s maximum power to

persuade rests on his capacity to bargain for the benefits of access to the entire

national economy without exception for enclaves fenced off willy-nilly by

inconsistent political tactics.”). And ordering the Executive to request the release of


4 Available at https://www.washingtonpost.com/local/vying-for-control-how-ms-13-
uses-violence-and-extortion-in-americas-jails/2018/02/04/c8b8ab92-06c8-11e8-8777-
2a059f168dd2_story.html.


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a member of a gang responsible for violence and drug trafficking throughout the

Americas threatens the country’s national security. Such orders would therefore

constitute “unwarranted judicial interference in the conduct of foreign policy.”

Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 116 (2013).

      The heavy interest in the President’s primacy in foreign affairs outweigh the

interests on the Plaintiffs’ side of the scale. Although the Defendants recognize the

financial and emotional hardships to Abrego Garcia’s family, see Compl., Ex. 2, ¶ 47,

the public interest in not returning a member of a violent criminal gang to the

United States outweighs those individual interests. See Nken, 556 U.S. at 436. And

to the extent that the Plaintiffs assert a general public interest in not perpetuating

unlawful agency action, Mem. Supp. TRO Mot. 9, they have made no showing that

the removal of Abrego Garcia to El Salvador was something other than an

administrative error, see Cerna Decl. ¶¶ 12–15.

      Because Plaintiffs have not made a clear showing that a TRO is warranted

under these circumstances, their motion should be denied.

                                   CONCLUSION

      The motion should be denied.

                                               Respectfully submitted,

                                               Yaakov M. Roth
                                               Acting Assistant Attorney General
                                               Civil Division

                                               s/Erez Reuveni
                                               Erez Reuveni
                                               Acting Deputy Director
                                               Office of Immigration Litigation



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Civil Division                              Erez.R.Reuveni@usdoj.gov
U.S. Department of Justice
P.O. Box 878, Ben Franklin Station          Christopher Ian Pryby
Washington, DC 20044-0878                   Trial Attorney
(202) 307-4293                              Office of Immigration Litigation

Dated: March 31, 2025                       Counsel for Defendants




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